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UN|TED STATES D|STR|CT COURT

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UN|TED STATES OF AMER|CA

-v- 04-10089-02-T

JOSEPH YOUNG

Randa|l P. Sa|kyl CJA
Defense Attorney

266 South Front Street
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count on July 16, 2002. Accordingly, the court has

adjudicated that the defendant is guilty of the following offense(s):

 

Date Offense Count
Tit|e & Section N_§M Conc|uded Number(§l
Conspiracy to 21 U.S.C. § 846 08/13/2004 ‘l
Manufacture and
Distribute

Methamphetamine

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996

Count(s) 2, 3 and 4 dismissed on the motion of the United States.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days ofany change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 10/81/1981 June 24, 2005
Deft’s U.S. Nlarsha| No.: 18049-076

This document entered on the docket sheet in compliance

with Rule 55 and/or 32(b) FRCrP on Q~?' 01 '05

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Case No: 1:04cr10089~02-T Defendant Name: Joseph Young Page 2 of 6

Defendant’s |Vlailing Address:
270 JOANNE
R|PLEY, TN 38063

 
 

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Case No: 1:04cr10089-02-T Defendant Name: Joseph Young Page 3 of 6
|MPRlSONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 151 Months as to Count1 of the lndictment, to be
served consecutively to the sentence imposed in U. S. District Court case no. 2:01-
CR-20285-02.

The Court recommends to the Bureau of Prisons: institution where defendant can
participate in an intensive drug abuse treatment program.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment..
UN|TED STATES MARSHAL
By:

 

Deputy U.S. ivlarshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years as to Count 1 of the lndictment.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submits truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthqu all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia reiated to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofhcer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit connscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminat lVlonetary Penalties sheet of this judgment.

ADD|T|ONAL CONDITIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the foliowing additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for
substance abuse as directed by the United States Probation Oche .

2. The defendant shall participate in the collection of DNA as directed by the United States
Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00

The Special Assessment shall be due immediately.

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FlNE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

ISTRICT COURT - WESERNT D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 1:04-CR-10089 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

 

 

Randali P. Salky

LAW OFFICE OF RANDALL SALKY
266 S. Front St.

i\/lemphis7 TN 38103

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highiand Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

